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15   COMPANY
16
                                 UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
18

19
     UNITED STATES OF AMERICA,                               Case No. 14-CR-00175-WHA
20
                                  Plaintiff,                 LETTER RE: PREPARATION FOR
21                                                           HIGH WIND SEASON AND
22                                                           NUMBER OF FIRES (GREATER OR
            v.                                               EQUAL TO 10 ACRES IN SIZE)
23
     PACIFIC GAS AND ELECTRIC COMPANY,                       Judge: Hon. William Alsup
24
                                  Defendant.
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26                 Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this

27   letter in response to the Court’s September 17, 2019, request for information regarding PG&E’s
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                           LETTER RE: PREPARATION FOR HIGH WIND SEASON
                     AND NUMBER OF FIRES (GREATER OR EQUAL TO 10 ACRES IN SIZE)
                                       Case No. 14-CR-00175-WHA
1    preparation for high wind season and the number of fires in PG&E’s service territory ten acres or

2    greater allegedly caused by PG&E’s equipment.

3    I.     PG&E Is Preparing for Northern California’s High Wind Season

4                   PG&E is continuing to work aggressively to further strengthen its programs and

5    infrastructure to maximize safety and mitigate the potential wildfire risk. To that end, PG&E has

6    implemented several additional measures designed to address the risk of wildfires as a result of an

7    increased likelihood that parts of its service territory will experience drier, higher-speed winds in the

8    coming months.
9                   The first component of PG&E’s preparation for high-wind season is its vegetation
10   management program. As the Court is aware, vegetation contact with PG&E’s power lines is the
11   leading source of electric involved fire incidents in PG&E’s service territory given the enormous
12   number of trees with the potential to contact PG&E’s overhead lines. (See Dkt. 976 at 56; Dkt. 1016
13   at 2.) To address this potential risk, PG&E has developed a comprehensive, multi-pronged
14   vegetation management program designed to, among other things, maintain vegetation clearances
15   and abate potentially hazardous trees (the routine program), address risks associated with the drought
16   and tree mortality emergency declarations and resultant directives (the “CEMA” program) and
17   proactively conduct tree work that reduces the likelihood of tree failure that could impact electric
18   facilities and pose a public safety risk (the Public Safety & Reliability (the “PS&R”) program).

19                  As discussed with the Court at the September 17, 2019, conference, in addition to

20   PG&E’s routine, CEMA and PS&R vegetation management programs, in late 2018, PG&E began

21   performing enhanced vegetation management (“EVM”) in Tier 2 and Tier 3 High Fire Threat

22   District (“HFTD”) areas. (See generally Dkt. 1091.) PG&E’s EVM program goes well beyond

23   applicable state and federal regulations and is performed in addition to PG&E’s historical and

24   ongoing vegetation management work. The program requires: enhanced clearance requirements (12

25   feet of radial clearance around conductors, even though only 4 feet of clearance is required by

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                       AND NUMBER OF FIRES (GREATER OR EQUAL TO 10 ACRES IN SIZE)
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1    regulation), 1 overhang clearing (pruning to maintain conductor-to-sky clearance within a zone

2    extending 4 feet on either side of conductors, even though applicable regulations permit overhangs)

3    and high-risk tree work (identifying trees tall enough to potentially strike power lines and addressing

4    those that fail a risk-informed tree analysis, even though applicable regulations require removal of

5    only “[d]ead trees, old decadent or rotten trees, [and] trees weakened by decay or disease”). PG&E

6    forecasted that its EVM program would cover 2,455 line miles in 2019. As of September 21, PG&E

7    had completed identified work on approximately 760 line miles.

8                   PG&E’s ability to complete inspection and clearance of the 2,455 line miles
9    forecasted for 2019 is dependent on its ability to significantly increase the number of qualified
10   personnel engaged in the EVM effort. PG&E is in the process of hiring the additional personnel
11   needed and will continue to monitor the retention process to confirm its resource needs are being
12   met. In addition, as PG&E stated in its Wildfire Safety Plan, the ability to complete the 2019 line
13   miles target to be cleared will depend on various factors including vegetation density, topography,
14   access and environmental considerations. (Dkt. 1004-1 at 75-76.) Moreover, until PG&E inspects
15   the lines, the number of trees that require trimming or removal, which is unknown, could impact the
16   rate at which lines can be cleared. (Id. at 76.)
17                  The second component of PG&E’s preparation for high-wind season includes
18   measures designed to make its equipment more fire resistant and/or less likely to experience failure.

19   These measures include PG&E’s Wildfire Safety Inspection Program (“WSIP”), an enhanced

20   inspection program based on an evaluation of key failure modes of transmission and distribution

21   assets in Tier 2 and Tier 3 HFTD and nearby areas. Under the WSIP, PG&E accelerated inspections

22   of transmission, distribution and substation assets in Tier 2 and Tier 3 HFTD areas. These

23   accelerated inspections focused on conditions that could lead to potential fire ignitions and

24   supplement PG&E’s baseline inspection and maintenance procedures. Under the plan, PG&E

25   performed detailed ground inspections and climbing inspections (for towers) that focus on failure

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           CPUC rules recommend pruning to 12 feet to ensure the 4-foot minimum is maintained
27   throughout the year, and the EVM program is intended to adhere to this recommendation.
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1    points capable of visual inspection as well as secondary inspections using drones or helicopters with

2    high resolution imagery for all transmission assets. The inspections were followed by quality

3    reviews designed to properly identify and prioritize any necessary repair work. In addition, Tier 2

4    and Tier 3 HFTD area inspections were designed to identify sag and clearance issues for correction

5    through re-sagging or the installation of spreader brackets, as well as any other conditions that could

6    lead to line slap in areas susceptible to fire for its distribution assets.

7                     PG&E is substantially complete with these enhanced inspections and expects to

8    complete inspections of the remaining few assets as expeditiously as possible. PG&E has inspected
9    all 694,250 poles on distribution overhead lines. As of September 21, 2019, of the 49,760 poles on
10   transmission lines, PG&E has inspected approximately 49,695. PG&E also completed 49,461 out of
11   49,760 visual inspections of transmission towers. As of May 8, 2019, PG&E has inspected all
12   transmission assets either visually or by drone or helicopter with high resolution imagery. PG&E
13   has completed 100 percent of the repairs to conditions that presented hazards requiring immediate
14   repair.
15                   Finally, PG&E has also been expanding its Public Safety Power Shutoff (“PSPS”)
16   program, which proactively de-energizes a portion of its electric system in the interest of public
17   safety when there are forecasts of gusty winds and dry conditions combined with a heightened fire
18   risk. Beginning with the 2019 wildfire season, PG&E has expanded its PSPS program to include all

19   electric lines, both distribution and transmission, that pass through HFTD areas. After each PSPS

20   event, PG&E evaluates the response to identify areas of improvement and then integrates any

21   lessons learned into its PSPS processes.

22                   As PG&E stated to the Court at the September 17, 2019, conference, PG&E expects

23   to de-energize more in 2019 than it did last year. In June 2019, PG&E conducted one PSPS event in

24   two locations on the same weekend, affecting approximately 22,000 customers. In addition, just six

25   days after appearing before Your Honor, on September 23, 2019, PG&E de-energized certain

26   distribution and transmission lines in Butte, Yuba and Nevada counties, affecting approximately

27   22,000 customers. The following day, PG&E de-energized again in seven different counties: Butte,
                                                       4
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                              LETTER RE: PREPARATION FOR HIGH WIND SEASON
                        AND NUMBER OF FIRES (GREATER OR EQUAL TO 10 ACRES IN SIZE)
                                          Case No. 14-CR-00175-WHA
1    Napa, Nevada, Placer, Plumas, Sonoma and Yuba. This de-energization affected approximately

2    48,000 customers. Following the de-energization, PG&E crews visually inspected approximately

3    2,785 miles of power lines to assess whether they were free from damage and safe to re-energize and

4    performed repairs on any damaged locations prior to safely restoring service. PG&E was able to

5    restore power to all customers less than 24 hours after the weather conditions indicating a potential

6    fire risk existed had passed.

7                    As of September 4, 2019, PG&E has installed more than 160 sectionalizing devices

8    that allow PG&E to limit the geographical impact of de-energization as well as accelerate the
9    restoration process. PG&E is also working with the California Independent System Operator
10   (“CAISO”) to determine how to best minimize impacts on the interconnected electric grid if PG&E
11   needs to turn off high-voltage transmission lines for public safety. Additionally, as of September 30,
12   2019, PG&E has installed over 600 new weather stations in HFTD areas to provide more detailed
13   inputs into its weather models. More geographically granular weather data enables PG&E to more
14   accurately pinpoint regions forecast to experience PSPS conditions, reducing the number of
15   customers in-scope for de-energization. 2
16   II.       PG&E’s Equipment May Have Contributed to Nine Fires of 10 Acres or Greater in

17   2019

18                   The California Public Utilities Commission (“CPUC”) requires investor-owned

19   utilities to submit an annual report of all fire-related “reportable events”, which meet the following

20   conditions: “(a) A self-propagating fire of material other than electrical and/or communication

21   facilities, [where] (b) [t]he resulting fire traveled greater than one linear meter from the ignition

22   point, and (c) [t]he utility has knowledge that the fire occurred”. CPUC Decision 14-02-015. PG&E

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            PG&E knows how much its customers rely on electric service and the impacts of these events
25   on families, businesses and communities—including the use of medical equipment. PG&E
     understands and appreciates that turning off the power affects first responders and the operation of
26   critical facilities, communications systems and much more. PG&E will only consider proactively
27   turning off power when the benefits of de-energization outweigh potential public safety risks.
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1    therefore compiles data about these incidents, including the potential cause of the ignition, for annual

2    submission to the CPUC.

3                   PG&E’s analysis of these events is ongoing and the information below represents

4    PG&E’s current understanding of the potential cause of each of the following fires. As of

5    September 17, 2019, PG&E’s equipment may have contributed to nine ignitions in 2019 that resulted

6    in fires ten acres or greater. The potential causes of those nine ignitions were:

7                       •   Vegetation: two ignitions

8                       •   Equipment: one ignition
9                       •   Third-party: five ignitions (three of which involved animal contact with lines
10                          and two of which involved vehicular contact with lines)
11                      •   Unknown: one ignition 3
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                                                                   Respectfully Submitted,
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15    Dated: October 1, 2019                                       JENNER & BLOCK LLP

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17                                                             By:    /s/ Reid J. Schar
                                                                     Reid J. Schar (pro hac vice)
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19                                                                 CRAVATH, SWAINE & MOORE LLP

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21                                                             By:    /s/ Kevin J. Orsini
                                                                     Kevin J. Orsini (pro hac vice)
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           PG&E does not know what caused this ignition, which ignited on September 1, 2019, and
     therefore it is possible that PG&E equipment may not be involved. Cal Fire is currently
26   investigating this fire. See California Department of Forestry & Fire Protection, Jolon Fire, General
27   Information available at https://fire.ca.gov/incidents/2019/9/1/jolon-fire.
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5                                      Attorneys for Defendant PACIFIC GAS
6                                      AND ELECTRIC COMPANY

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